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                                                                               18-151519


                         UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE - WESTERN DIVISION
                                         )
  State Farm Fire and Casualty Company   )
  As subrogee of Talus Properties, Inc.  )
  And Melrose Midtown, LLC               )
               Pro Se Plaintiff,         )
                                         )
  V                                      ) C.A. 2:19-cv-2330
                                         )
  Jose Alfredo Sandoval                  )
               Defendant.                )


 DEFENDANT JOSE ALREDO SANDOVAL'S ANSWER TO AMENDED COMPLAINT


       The Defendant, Jose Alfredo Sandoval, responds to the Plaintiff's Amended

 Complaint as follows:

                         A.     ADMISSIONS AND DENIALS

     Complaint
     Paragraph            Response
         1.               Upon information and belief, admits.

         2.               Admits the identity and residence of Defendant, Jose Alfredo
                          Sandoval (“Sandoval”) and that he may be served with
                          process at his residence. Admits that Sandoval held himself
                          out as available for employment in the State of Tennessee for
                          electrical work but otherwise denied.
         3.               Admits.
         4.               Admits.
         5.               Admits that the events or transactions alleged occurred in
                          Memphis, Shelby County Tennessee and that venue is proper
                          in this Court. Denies that Defendant Sandoval was guilty of
                          any omissions as alleged herein.
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        6.              Admits that Talus Properties, Inc. (hereafter “Talus”) owned or
                        has owned the property described in this paragraph. Upon
                        information and belief, Melrose Midtown, LLC (hereafter
                        “Melrose”) owns or has owned the same property but the exact
                        date or timing of transfer of ownership between Talus and
                        Melrose is currently unknown to Defendant Sandoval.
                        Therefore, Defendant Sandoval is without knowledge or
                        information sufficient to admit or deny the allegations of this
                        paragraph.

        7.              Admits generally but affirmatively states that the nature of the
                        relationship between Sandoval and Talus is subject to further
                        discovery and may be an employer-employee relationship.
                        Admits that Exhibit A is a true and correct copy of the
                        “Contract” as alleged by Plaintiff.

        8.              Admits that the language recited in this paragraph is contained
                        within the “Contract” as alleged by Plaintiff but see additional
                        defenses as listed below.

        9.              Admits.

        10.             Admits transfers in ownership at some point in time but without
                        knowledge or information sufficient to form a belief as to the
                        exact date of such transfers of ownership. Without knowledge
                        or information sufficient to form a belief as to the truth of the
                        remaining allegations of this paragraph.

        11.             Upon information and belief, admits that Exhibit C represents
                        an assignment of Talus’ rights to Melrose regarding the
                        subject property.

        12.             Admitted that Exhibit B is a true and correct copy of the
                        amendment to the “Contract.”

        13.             Denies that any “fire” occurred as alleged by Plaintiff. Admits
                        that an electrical event such as an arc occurred but denies that
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                        the same was “fire” and further denies any such event was
                        caused by Defendant Sandoval.

        14.             Denies.

        15.             Denies.

        16.             Without knowledge or information sufficient to form a belief as
                        to the truth of the allegations.

        17.             Upon information belief admits that Plaintiff made some
                        payments to Talus or Melrose but without knowledge or
                        information as to all contractual basis for such payments.
                        Denies that any “fire” occurred and without knowledge as to
                        the nature of any payments for any electrical event.

        18.             To the extent Plaintiff made payments to Talus or Melrose
                        pursuant to an insurance contract that allows for equitable
                        subrogation, Plaintiff has a right of recovery, however
                        Defendant is without knowledge or information regarding the
                        contents of any contract between Plaintiff and Talus or
                        Melrose. Denies that any “fire” occurred and without
                        knowledge as to any damages for which insurance payments
                        may have been made.

        19.             Admits that Sandoval undertook to discharge his employment
                        or work duties with reasonable care so as not to damage
                        property of others.       Without knowledge or information
                        sufficient to form a belief as to the truth of the remaining
                        allegations because Plaintiff fails to adequately define the
                        scope of its allegation regarding “professional electrician.”


        20.             Admits the general and broad allegations regarding the
                        statement of law contained in this paragraph and the
                        associated footnote but denies the breach of any such duty by
                        Defendant Sandoval.
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        21.             Admits the general and broad allegations regarding duty but
                        denies violation of any such duty.

        22.             Denies.

        23.             Denies.

        24.             Denies.


        25.             Denies that a “fire” occurred. Admits that Defendant Sandoval
                        was retained to do certain work. Denies the remaining
                        allegations.

        26.             Admits generally the expression of the law contained herein,
                        however, the nature of the relationship between Talus,
                        Melrose and Defendant Sandoval is subject to further
                        discovery.     Therefore, currently without knowledge or
                        information sufficient to form a belief as to the applicability of
                        such broad legal allegation. Denies that Defendant Sandoval
                        breached any common law, statutory, or contractual duty to
                        Talus or Melrose.

        27.             Denies.

        28.             Admits that there were deficiencies in the Talus or Melrose
                        building but denies that such deficiencies were caused by
                        Defendant Sandoval. See Additional Defenses below.

        29.             Denies.

        30.             Without knowledge or information sufficient to form a belief as
                        to the truth of the allegations. Denies any such waiver.
        31.             Denies that Plaintiff is entitled to the relief requested.
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                                  B.     GENERAL DENIAL

        All allegations in the Complaint not admitted, denied, or explained are expressly

 denied.

                             C.        ADDITIONAL DEFENSES

        1.     Sandoval acted with that degree of care of a reasonably prudent person in

 the same or similar circumstances. Therefore, he was not negligent, and the Plaintiff may

 not recover against him. Sandoval further denies that he breached any contractual duty

 to Plaintiff’s subrogors and therefore Plaintiff may not recover against him.

        2.     Upon information and belief, numerous persons including employees of

 Talus or Melrose and/or contractors of Talus or Melrose performed electrical work at the

 apartment building at issue in this cause.       The identity of all such employees or

 contractors is unknown to Sandoval at this time, however, the identity of such persons is

 known Talus or Melrose. Upon discovery of the identity of such persons and upon

 discovery of the work performed by such persons, Sandoval reserves the right to amend

 this Answer to assert the fault of such persons and specifically to assert the breach of the

 duties of such persons, as described in Paragraph 21 of the Complaint in this cause, as

 the cause of the damages asserted by the Plaintiff herein. The claims of negligence in

 paragraphs 18 through 23 in the Complaint are adopted by reference pursuant to Fed. R.

 Civ. P. 10.04 to such to persons as the sole proximate cause or causes of the Plaintiff’s

 damages and Sandoval seeks leave to amend to identify such persons with specificity

 upon further discovery as may be necessary.

        3.     Plaintiff’s injuries and damages were caused, in whole or in part, by third

 parties over whom Sandoval exercised no control.
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        4.     Negligent acts or omissions on the part of the Plaintiff’s subrogors, Talus

 and/or Melrose, individually and their principal, Chris Robbins, contributed to the cause

 of its damages, the same is hereby pled as an affirmative defense, including the defenses

 of comparative fault or failure to mitigate.

        5.     The doctrine of modified comparative fault as adopted by the State of

 Tennessee is specifically pled herein and to the extent of negligence on the part of

 Plaintiff’s subrogors or the persons identified in Paragraph C.2 above, Sandoval’s liability,

 if any, should be barred or proportionately reduced.

        6.     Upon information and belief, Plaintiff’s subrogors, Talus or Melrose, failed

 to preserve important evidence relevant to proving or disproving the origin and cause of

 the electrical event alleged in the Complaint. As Plaintiff’s subrogors, Talus or Melrose

 are agents of the Plaintiff and therefore their spoliation of evidence is imputed to Plaintiff.

 Therefore, Plaintiff’s claim should be limited or barred because of such spoliation of

 evidence.

        7. The principal of Talus and Melrose is Chris Robbins. Chris Robbins is an

 attorney licensed to practice law in one or more states of the United States. Additionally,

 Chris Robbins owns or operates businesses in several states. As a highly educated and

 sophisticated businessman and as an attorney with specialized knowledge regarding

 contracts and contracts law, as the principal of Talus and Melrose, Robbins exercised

 dominance and control over the process and substance of hire and contract with

 Defendant Sandoval, an electrical worker who speaks very little English. The contract

 alleged in the Complaint is a contract of adhesion and is both procedurally and

 substantively unconscionable due to the acts of Plaintiff’s subrogors, Talus or Melrose
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 through its principal, Chris Robbins. Recovery by Plaintiff based on contract is therefore

 barred.

        8.     Plaintiff’s subrogors, Talus and Melrose, through their common principal,

 Chris Robbins, exercised control on the details of the work performed by Defendant

 Sandoval. Any such alleged deficiencies of Defendant Sandoval are, therefore, imputed

 to Plaintiff’s subrogors and by extension, therefore, to Plaintiff thereby barring Plaintiff’s

 recovery against Defendant.

        9.     Chris Robbins, individually and in his capacity as principal for Talus and

 Melrose and/or Talus and Melrose undertook to construct, supervise, oversee, schedule,

 direct or assume charge of construction, alteration, repair, improvement, movement,

 demolition, putting up, tearing down, or furnishing labor to install material or equipment

 for the property that is subject of this cause of action at a total cost greater than

 $25,000.00. These actions undertaken by Mr. Robbins, Talus and Melrose were for the

 purpose or renovating Talus and Melrose property for public use. As such, Mr. Robbins

 and/or Talus and Melrose were persons or entities engaged in contracting without a

 license in violation of Tenn. Code Ann. § 62-6-102 (3) and Tenn. Code Ann. § 62-6-103.

 Acting in the capacity of a contractor or general contractor or other construction manager

 and acting in the capacity of the designer for the overall renovation project a part of which

 Mr. Sandoval was hired to perform, Mr. Robbins and/or Talus and Melrose were guilty of

 the following acts of negligence and negligence per se or intentional acts which

 proximately caused or contributed to the cause of the damages alleged in the Amended

 Complaint:
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       a. Failure to exercise reasonable care to adequately and reasonably manage the

 renovation project;

       b. Failure to exercise reasonable care to adequately coordinate the work of

 multiple contractors, sub-contractors, and employees;

       c. Failure to exercise reasonable care in scheduling and coordinating the sequence

 of construction to be performed by multiple contractors, sub-contractors, and employees;

       d. Failure to exercise reasonable care in obtaining and communicating necessary

 information to multiple contractors, sub-contractors, and employees;

       e. Failure to exercise reasonable care in construction oversight regarding the

 renovation project;

       f. Failure to exercise reasonable care in securing and maintaining the construction

 work sight;

       g. Failure to exercise reasonable care to hire licensed contractors, sub-contractors,

 and employees;

       h. Intentionally hiring non-licensed contractors, sub-contractors, and employees;

       i. Failure to exercise reasonable care to obtain proper building or construction

 permits;

       j. Intentionally failing to obtain proper building or construction permits;

       k. Failure to exercise reasonable care in the design of the renovation project;

       l. Failure to exercise reasonable care to insure that the design and all work

 performed by any contractor, sub-contractor, or employee was Code compliant;

       m. Failure to exercise reasonable care to have familiarity with applicable building

 Codes in Memphis, Shelby County, Tennessee;
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        n. Violation of Tenn. Code Ann. § 62-6-102 (3) and Tenn. Code Ann. § 62-6-103

 or other Tennessee contracting statutes.

        These acts of negligence or negligence per se or intentional acts proximately

 caused or contributed to the cause of the damages alleged in the Amended Complaint

 thereby barring or proportionately reducing the liability of Mr. Sandoval, if any. See State

 of Tennessee v. Howell, W2012-02585-CCA-R3-CD (Tenn. Crim. App. 2014); 2014 WL

 586003.

        10.    Interruption of business of Plaintiff’s subrogors, and therefore any payments

 made by Plaintiff to its subrogors for the same, was caused in whole or in part by

 deficiencies in the property on which Defendant Sandoval performed no work including,

 but not limited to, deficiencies and code violations regarding other mechanical systems

 and physical construction components of the property and including work performed

 without proper permitting by Chris Robbins, individually and/or Talus and Melrose. In his

 or their role as the contractor, general contractor or other construction manager, Chris

 Robbins and/or Talus and Melrose were legally required to obtain proper permits or make

 sure that proper permits were obtained. Any work that had to be redone because of lack

 of property permitting is, therefore, the responsibility of Chris Robbins and/or Talus and

 Melrose. Therefore, recovery by Plaintiff for payments for interruption of business is

 barred.

                                  D.     JURY DEMAND

        Having answered the Complaint, the Defendant hereby respectfully requests a trial

 by jury.
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                               E.     PRAYER FOR RELIEF

        Having answered the Complaint, the Defendant hereby respectfully requests the

 court to enter an Order dismissing this action and assessing all costs against the Plaintiff.

        This the 10th day of March 2021.

                                                   Respectfully submitted,

                                                   CLAYTON – LITTLE, PLLC


                                           By:      s/ John S. Little
                                                   John S. Little (#014941)
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                                                   Jose Alfredo Sandoval
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                                CERTIFICATE OF SERVICE

        This is to certify that I served a copy of this pleading or paper personally, by mail,
 or by electronic filing, upon each attorney or firm of attorneys appearing of record for each
 adverse party or pro se party on or before the filing date thereof.

        This the 10th day of March 2021.

                                                   CLAYTON – LITTLE, PLLC

                                                   /s/ John S. Little
                                                   Attorney for Jose Alfredo Sandoval
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